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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 19-60768-CIV-ALTMAN/Hunt

  FRANCIS TORRES,

          Plaintiff,
  v.

  CONTOURE LASER BODY SCULPTING
  & COSMETIC CENTER, LLC,

        Defendant.
  _________________________________/

           ORDER SETTING TRIAL AND PRE-TRIAL SCHEDULE, REQUIRING
       MEDIATION, AND REFERRING CERTAIN MATTERS TO MAGISTRATE JUDGE

          THIS CASE is set for trial during the Court’s two-week trial calendar beginning on May

  26, 2020. Counsel for all parties shall also appear at a calendar call at 1:45 p.m. on May 19, 2020.

  Unless instructed otherwise by subsequent order, the trial and all other proceedings in this case

  shall be conducted in Courtroom 207A at the U.S. Courthouse, 299 E. Broward Boulevard, Fort

  Lauderdale, Florida. The parties shall adhere to the following schedule:

          August 7, 2019. The parties shall select a mediator in accordance with Local Rule 16.2;
          schedule a time, date, and place for mediation; and jointly file a proposed order
          scheduling mediation in the form specified on the Court’s website,
          http://www.flsd.uscourts.gov. In accordance with the procedures outlined in the CM/ECF
          Administrative Procedures, the proposed order must be emailed to
          altman@flsd.uscourts.gov in Word format. If the parties cannot agree on a mediator, they
          shall notify the Clerk in writing as soon as the impasse becomes clear, and the Clerk shall
          designate a certified mediator on a blind rotation basis. Counsel for all parties shall
          familiarize themselves with, and adhere to, all provisions of Local Rule 16.2.1 Within three
          (3) days of the mediation, the parties shall file a joint mediation report with the Court. The
          report shall indicate whether the case settled (in full or in part), whether it was adjourned,


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   Pursuant to Local Rule 16.2(e), the appearance of counsel and each party (or the representatives
  of each party with full authority to enter into a full and complete compromise and settlement) is
  mandatory. The Court may impose sanctions against parties and/or counsel who do not comply
  with these attendance or settlement authority requirements. The mediator shall report non-
  attendance to the Court and may recommend the imposition of sanctions for non-attendance.
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         or whether the mediator declared an impasse. If mediation is not conducted, the case may
         be stricken from the trial calendar, and other sanctions may be imposed.

         August 20, 2019. The parties shall file all motions to amend pleadings or to join parties.

         December 6, 2019. The parties shall exchange expert witness summaries or reports.

         December 20, 2019. The parties shall exchange rebuttal expert witness summaries or
         reports.

         January 10, 2020. All discovery, including expert discovery and class certification
         discovery, shall be completed.2

         January 17, 2020. The Plaintiff shall file any motion for class certification.

         February 17, 2020. The parties must have completed mediation and filed a mediation
         report.

         February 24, 2020. The parties shall file all pre-trial motions, including motions for
         summary judgment, and Daubert motions. Each party is limited to filing one Daubert
         motion. If a party cannot address all evidentiary issues in a 20-page memorandum, it must
         petition the Court for leave to include additional pages. The parties are reminded that
         Daubert motions must contain the Local Rule 7.1(a)(3) certification.

         April 10, 2020. The parties shall submit a joint pre-trial stipulation, exhibit lists, witness
         lists, deposition designations, and proposed jury instructions and verdict form or proposed
         findings of fact and conclusions of law, as applicable, and shall file any motions in limine
         (other than Daubert motions). Each party is limited to filing one motion in limine, which
         may not, without leave of Court, exceed the page limits allowed by the Rules. The parties
         are reminded that motions in limine must contain the Local Rule 7.1(a)(3)
         certification.

         Jury Instructions and Verdict Form. Although they need not agree on each proposed

  instruction, the parties shall submit their proposed jury instructions and verdict form jointly. Where

  the parties do not agree on a proposed instruction, that instruction shall be set forth in bold type.

  Instructions proposed only by a plaintiff shall be underlined. Instructions proposed only by a

  defendant shall be italicized. Every instruction must be supported by citation to authority. The



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   The parties may, by agreement or with the consent of the paired Magistrate Judge, extend any
  deadline relating to fact or expert discovery so long as that extension does not interfere with any
  of the other deadlines contained in this Scheduling Order.


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  parties shall use as a guide the Eleventh Circuit Pattern Jury Instructions for Civil Cases, including

  the directions to counsel contained therein. The parties shall submit, in Word format via e-mail to

  altman@flsd.uscourts.gov, proposed jury instructions and verdict form, including substantive

  charges and defenses, prior to the calendar call. For instructions on filing proposed documents,

  please see http://www.flsd.uscourts.gov.

         Referral to Magistrate Judge. Pursuant to 28 U.S.C. § 636 and this District’s Magistrate

  Judge Rules, all pretrial non-dispositive and discovery matters are hereby referred to United States

  Magistrate Judge Patrick M. Hunt. Furthermore, in accordance with 28 U.S.C. § 636(c)(1), the

  parties may consent to trial and final disposition by Magistrate Judge Hunt. The deadline for

  submitting a consent is February 24, 2020.

         Good Faith Conferral. For the purposes of compliance with the good faith conferral

  requirement of Local Rule 7.1(a)(3), the parties are instructed that a single e-mail exchange with

  opposing counsel shall not constitute a good faith effort under the Local Rules. The parties are

  instructed to confer either telephonically or in person.

         Discovery. The parties may stipulate to extend the time to answer interrogatories, produce

  documents, and answer requests for admissions. The parties shall not file with the Court notices

  or motions memorializing any such stipulation unless the stipulation interferes with the deadlines

  set forth above. Stipulations that would so interfere may be entered into only with the Court’s

  approval. See FED. R. CIV. P. 29. In addition to the documents enumerated in Local Rule 26.1(b),

  the parties shall not file notices of deposition with the Court. Strict compliance with the Local

  Rules is expected, particularly with respect to motions practice. See S.D. FLA. L.R. 7.1.

         Discovery Disputes.       The parties shall not file any written discovery motions,

  including motions to compel, for protective order, or for sanctions, without the consent of




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  the Magistrate Judge. Counsel must actually confer and engage in reasonable compromise in a

  genuine effort to resolve their discovery disputes before seeking the Court’s intervention. The

  Court may impose sanctions, monetary or otherwise, if it determines that a party has improperly

  sought or withheld discoverable material in bad faith. If, after conferring, the parties are unable to

  resolve their discovery dispute without Court intervention, they shall not file written motions.

  Rather, the “moving party” shall follow Magistrate Judge Hunt’s standard discovery procedures.

  Should the parties have any questions regarding the resolution of discovery issues, counsel should

  contact the chambers of Magistrate Judge Hunt at (954) 769-5470.

         Trial Exhibits. All trial exhibits must be pre-marked. The Plaintiff’s exhibits must be

  marked numerically with the letter “P” as a prefix; the Defendant’s exhibits must be marked

  numerically with the letter “D” as a prefix. The parties must submit a list setting out all exhibits

  by the date of the calendar call. This list must indicate the pre-marked identification label (e.g., P-

  1 or D-1) and include a brief description of the exhibit.

         Voir Dire Questions. The Court will require each prospective juror to complete a brief

  written questionnaire prior to the commencement of questioning in the courtroom. Any party may

  submit up to five proposed, case-specific questions to be included in the questionnaire. The

  proposed questions must be filed with the Court at the time of the filing of the joint pretrial

  stipulation and must also be submitted to the Court, in Word format, via e-mail to

  altman@flsd.uscourts.gov. The Court will begin voir dire by questioning the venire individually

  and as a whole and will permit limited attorney-directed voir dire thereafter. The Court will not

  permit the backstriking of jurors.

         Settlement Notification. If this matter is settled, counsel shall inform the Court promptly

  via telephone (954-769-5680) and/or e-mail (altman@flsd.uscourts.gov).




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        DONE AND ORDERED in Fort Lauderdale, Florida, this 18th day of July 2019.




                                                _________________________________
                                                ROY K. ALTMAN
                                                UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




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